Dear Mr. Dimas:
This office is in receipt of your request for an opinion of the Attorney General in regard to transfer of property involved in a succession. You ask if the assessor is allowed to transfer property based upon an Affidavit of Heirship where heirs, who cannot afford to open a succession, sell the subject property with only the Affidavit of Death and Heirship and no judgment of possession.
A similar question was presented in Atty. Gen. Op. No. 95-150 asking, "To whom should the Parish Assessor assess real property where no succession or judgment of possession exists?"
Therein it was concluded that the taxes are the burden of the real property's record owner, quoting Atty. Gen. Op. No. 92-67 that "the assessor must assess taxes to the record owner without inquiring into any defects which may exist in his title, including the lack of a succession proceeding and/or judgment of possession."
We note that Atty. Gen. Op. No. 92-67 referred to Palmer v. Boardof Assessors, 8 So.2d 487 (La. 1890) as holding that the assessors are not bound to look beyond recorded titles to property, and also to earlier opinions of this office which concluded it was not incumbent upon the tax assessor to require succession proceedings in order to make an assessment, but the assessment should be made in the name of the purchaser of record.
We hope this sufficiently answers your inquiry.
Sincerely yours,
                                  RICHARD P. IEYOUB Attorney General
                                  By: ___________________________ BARBARA B. RUTLEDGE Assistant Attorney General
BBR